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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Criminal Case No. 14-cr-00231-WJM

 UNITED STATES OF AMERICA,

               Plaintiff,

 v.

 1.     RICKY GARRISON, et al.

            Defendants.
 ______________________________________________________________________

             MOTION TO WITHDRAW AS ATTORNEY OF RECORD
 ______________________________________________________________________

        I, Wayne Campbell, hereby request that James S. Russell, former Assistant

 United States Attorney, be taken off as the Plaintiff’s Attorney of Record in this case.

 Mr. Russell no longer works for this office. I have entered my appearance as Attorney

 of Record for Plaintiff United States.

        DATED this 22nd day of September, 2014.

                                                Respectfully submitted,

                                                JOHN F. WALSH
                                                United States Attorney

                                            By: s/ Wayne Campbell
                                                Wayne Campbell
                                                Assistant U.S. Attorney
                                                U.S. Attorney’s Office
                                                1225 Seventeenth Street, Ste. 700
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                                                Attorney for the United States


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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 22nd day of September, 2014, I electronically filed the
 foregoing with the Clerk of Court using the ECF system which will send notice to all
 counsel of record.

                                                   s/ Raisa Vilensky
                                                   FSA Data Analyst
                                                   Office of the U.S. Attorney




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